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				FEE SCHEDULE FOR STATE BD. OF EXAMINERS OF CERTIFIED COURTROOM INTERPRETERS2015 OK 1Decided: 01/12/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 1, __ P.3d __

				
NOTICE: THIS OPINION HAS NOT BEEN RELEASED FOR PUBLICATION. UNTIL RELEASED, IT IS SUBJECT TO REVISION OR WITHDRAWAL. 



IN RE: FEE SCHEDULE FOR THE STATE BOARD OF EXAMINERS OF CERTIFIED COURTROOM INTERPRETERS




ORDER


PURSUANT TO the provisions of 20 O.S. § 1707, the Court hereby approves and authorizes the following Fee Schedule for the State Board of Examiners of Certified Courtroom Interpreters, effective immediately.

&nbsp;

&nbsp;


	
		
			
			Fees for Interpreter Credentialing
			
		
		
			
			Application for Provisional Status
			
			
			$100.00
			
		
		
			
			Application for Certification by Reciprocity
			
			
			$100.00
			
		
		
			
			Application to Become a Registered Courtroom Interpreter  Full Program (Fee includes enrollment in one Two-Day Orientation Training, one Written Examination and one Written Translation Basic Proficiency Assessment)
			
			
			&nbsp;

			$200.00
			
		
		
			
			Application to Become a Registered Courtroom Interpreter  Application Only
			
			
			$100.00
			
		
		
			
			Background Check
			
			
			$15.00 (or actual cost, whichever is greater)
			
		
		
			
			Two-Day Orientation Training
			
			
			$100.00
			
		
		
			
			Court Interpreter Written Examination
			
			
			$50.00
			
		
		
			
			Basic Proficiency Assessment  Written Translation Test
			
			
			$50.00
			
		
		
			
			Basic Proficiency Assessment -- Oral Proficiency Interview
			
			
			$75.00
			
		
		
			
			Oral Examination
			
			
			$250.00
			
		
		
			
			Fees for Certificate Renewal and Continuing Education
			
		
		
			
			Annual Certificate Renewal Fee

			
			
			Annual certificate renewal shall become effective on January 1, 2016
			
			
			
			
			$30.00
			
		
		
			
			Delinquent Payment Fee

			
			
			Assessed for failure to renew certificate on or before February 15
			
			
			
			
			$100.00
			
		
		
			
			Continuing Education Penalty Fee

			
			
			Assessed for failure to obtain CE hours on or before December 31 of the year in which they are required

			Annual CE requirements shall become effective on January 1, 2016
			
			
			
			
			$100.00
			
		
		
			
			Continuing Education Suspension Fee
			
			
			$100.00
			
		
		
			
			Reinstatement After Administrative Revocation or Inactive Status
			
			
			$100.00
			
		
	


&nbsp;

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE THIS 12th DAY OF JANUARY, 2015.


/S/CHIEF JUSTICE



REIF, C.J., COMBS, V.C.J., KAUGER, WATT, WINCHESTER, EDMONDSON, COLBERT, and GURICH, JJ., concur.

TAYLOR, J., dissents.







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